The alternative writ of mandamus was granted by this Court requiring the Atlantic Coast Line Railroad Company to comply with order number 925 of the Railroad Commissioners of the State of Florida, the pertinent part of which is to "abolish for the purpose of computing rates, the station and shipping point on your line of railroad near Tampa, Fla., known as Ewing and to desist from the publication of rates to and from the station or shipping point known as Ewing, Fla."
A motion to quash the alternative writ is predicated on six grounds which raise two primary questions, viz: was the order of the Railroad Commissioners within their power power and authority, and if so was it a reasonable exercise of such power.
On the allegations of the alternative writ we are unable to properly dispose of the questions raised. We think, therefore, that the motion to quash should be overruled and on a full and complete presentation of the matter the questions of law presented will be determined.
It is so ordered.
TERRELL, C. J., AND ELLIS AND BROWN, J. J., concur.
WHITFIELD, P. J., AND STRUM AND BUFORD, J. J., concur in the opinion and judgment. *Page 1238 